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                                        I                                                                                                 ' ict Court
                                                                                                                      -~ -fs,4f---J.:l..L'J,.._ Deputy Clerk

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 Address

                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS
'z½Pi r ltu()t, ) · Ate ,Wc:ML Plantiff                                             23-3091-JWB-GEB
                                                                         CASE NO. - -
 (Full Name)
                                                                                       --------
                                                                                         (To be supplied by the Clerk)

                         V.

u. & n~           ~ bl A:'.)\, Loct, , 'Defendant (s)                            CIVIL RIGHTS COMPLAINT
                                                                                  PURSUANT TO 42 U.S.C.
                                                                                           §1983


                                                           A. JURISDICTION

     1)   't)k.A,p [/)Qf\J>(Plaintiff)J,,)f2,£Aj , is a citizen of \t'.Ab:E:J-6
                                             t   \
                                                                        (State)

          who presently resides at           '2 ib ( ) Ee ¼ A)'v/ 'l~ \lo li:t.W\l llS [sl.j..../?; b
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          of confinement.)




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                             ~·+-~~ - - - - - - - - - - - - - '                                          and is employed as
                                         (City, State)

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                                                                                                                 .At the time the
          claim(s) alleged in this complaint arose, was this defendant acting under the color of state

          law? Yes ~              o   D- If your answer is "Yes", briefly explain:




                                                                                                                                      1
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   3) Defendant _£....,·,-='-~-'JI--........,_,.,,_._____,O
                                                          , ,"'--P
                                                                 ..___~>-<-L--"-'.""'-t.WA
                                                                                         --"--'
                                                                                            :£ ...,___ _ _ _ _ _ _ is a citizen of
                                                 (Na,neoJseconhkfemiant)

         -'-\L
            -1,--,.A__..,1M
                         .,_~ -..f---
                                  \: S~ -(City,-state)
                                                  -- - - - - -- - -- -' and is employed as

         ~ ~ndf,JfftanflLvy fJJTJed/                                                                 . At the time the

         claim (s) alleged in this complaint arose was this defendant acting under the color of state

         law? Yes ~             o   D . If your answer is "Yes", briefly explain:



         (Use the back of this page to furnish the above information for additional defendants.)



   4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 U.S .C. §1983. (If you wish to

         assert jurisdiction under different or additional statutes, you may list them below.)




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                                                B. NATURE OF THE CASE

   1) Briefly state the background of your case:                          r,,.,,
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                                                                                                                               Dr---J ~ACX,~
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                                        C. CAUSE OF ACTION

   1) I allege that the following of my constitutional rights, privileges or immunities have been

       violated and that the following facts form the basis for my allegations: (If necessary you

       may attach up to two additional pages (8h" x 11 ") to explain any allegation or to list

       additional supporting facts.)

       A) (1) Count I:    l(t!J /JtrenlJ(rleYrr ;fj}A
                                                    i

            (2) Supporting Facts: (Include all facts you consider important, including names of

            persons involved, places and dates. Describe exactly how each defendant is involved.

            State the facts clearly in your own words without citing legal authority or argument.):




            (2) Supporting Facts: j[J:;
                                        I
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                                                                                                    3
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             (2) Supporting Facts:   ~fa,i,v{J iJYI Wr                      t    ?,JA:;):'
             ~      c2
            !.,axon &,c;k '5 /be, d ·f/2 ,.s /J136 W}({_ Al l
            cJ71erc dk ht ,
                     D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

   1) Have you begun other lawsuits in state or federal court dealing with the same facts

       involved in this action or otherwise relating to the conditions of your imprisonment?

       Yes    D No ~        Ifyour answer if"Yes", describe each lawsuit. (Ifthere is more than

       one lawsuit, describe the additional lawsuits on another piece of paper, using the same

       outline.)   M :.: : L-:; . . ,. !~ .       'rJ /tt1-,JT
             a)                               i      ~'1 -::fudv e
                  Plaintiffs: - - - - - - - - - - - - - - - - - - - - - - - -

                  Defendants: - - - - - - - - - - - - - - - - - - - - - - -

             b) Name of court and docket number _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



             c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still

                  pending?) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



             d) Issues raised _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                  4
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                                                                  )J?K. ·- :y~
                 e) Approximate date of filing lawsuit ~/f?_J'J,':f :!..t)
                                                        ~ (YltrJ~:-rt:Jvt -=-u
                 f) Approximate date of disposition _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            1) I have previously sought informal or formal relief from the appropriate administrative

                 officials regarding the acts complained of in Part C Yes D No D. If your answer is

                 "Yes", briefly describe how relief was sought and the results. If you answer is "No",

                 briefly explain why administrative relief was not sought.




                                                2) REQUEST FOR RELIEF

            1) I believe that I am entitled to the following relief:

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            Signature of Attorney (if any)




            (Attorney's full address and telephone number)




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